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 AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)            ‫ ܆‬Original    ‫ ܆‬Duplicate Original


          LODGED
   CLERK, U.S. DISTRICT COURT
                                          UNITED STATES DISTRICT COURT                                                   FILED
                                                                                                                CLERK, U.S. DISTRICT COURT



   4/5/2021                                                  for the                                              04/05/21
CENTRAL DISTRICT OF CALIFORNIA
              JB
 BY: ____________BB______ DEPUTY                 Central District of California                           CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                       jm
                                                                                                            BY: ___________________ DEPUTY

   United States of America

                            v.
                                                                       Case No.      2:21-mj-01631-DUTY
   Zachary Joseph Horwitz,

                            Defendant


                                        CRIMINAL COMPLAINT BY TELEPHONE
                                       OR OTHER RELIABLE ELECTRONIC MEANS

              I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 On or about the date of December 14, 2018, in the county of Los Angeles, in the Central District of California,

 the defendant violated:

                 Code Section                                          Offense Description

                 18 U.S.C. § 1343                                      Wire Fraud

              This criminal complaint is based on these facts:

               Please see attached affidavit.

              _ Continued on the attached sheet.



                                                                                      Complainant’s signature

                                                                                  John
                                                                                   ohn V
                                                                                       Verrastro,
                                                                                        e rastro, Special Agent
                                                                                        er
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                                                                                        rinted name and title
   Attested to by the applicant in accordance with the requirements of Fed.
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   Date:                           04/05/21
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   City and state: Los Angeles, California                              Hon. Maria
                                                                               ria A.
                                                                                   A Audero, U.S. Magistrate Judge
                                                                                       Printed name and title



 AUSA: Alexander Schwab x1259/David Chao x0166
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                                AFFIDAVIT
I, John Verrastro, being duly sworn, declare and state as

follows:

                            I. INTRODUCTION
           I am a Special Agent of the Federal Bureau of

Investigation (“FBI”) in the Los Angeles Field Office and have

been so employed since 2004.      For approximately fifteen years,

my primary responsibility has been investigating securities

fraud, mail fraud, wire fraud, money laundering, and other fraud

violations.   My experience includes interviewing witnesses,

gathering documents, analyzing financial documents, conducting

surveillance, and serving grand jury subpoenas.         I have also

received training in investigating financial crimes, including

securities fraud, bank fraud, wire fraud, and money laundering.

Prior to becoming an FBI agent, I worked for ten years in

financial services at a bank and an investment firm.          In the

course of my FBI employment, I have participated in executing

many search warrants of businesses and residences in connection

with financial fraud offenses.      In investigating fraudulent

schemes, I have become familiar with the types of records and

documents that individuals and entities use to perpetrate their

schemes, and have executed and participated in the execution of

search warrants at homes and businesses of individuals involved

in fraudulent schemes.
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                       II. PURPOSE OF AFFIDAVIT
           This affidavit is made in support of a complaint and

arrest warrant for ZACHARY JOSEPH HORWITZ for a violation of

wire fraud, in violation of 18 U.S.C. § 1343.         It is also made

in support of an application for a warrant to search the

premises located at 9615 Bolton Road, Los Angeles, California

90034 (the “SUBJECT PREMISES”) for the evidence, contraband,

fruits, and instrumentalities of securities fraud, mail fraud,

wire fraud, aggravated identity theft, and money laundering, in

violation of 15 U.S.C. §§ 78j(b), 78ff and 17 C.F.R. § 240.10-b;

and 18 U.S.C. §§ 1341, 1343, 1028A, 1956, and 1957 (the “Subject

Offenses”).

           The facts set forth in this affidavit are based upon

my personal observations, my training and experience,

information obtained from various law enforcement personnel,

other government agencies, and witnesses, and my review of

records.   This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrants and does not purport to set forth all of my knowledge

of or investigation into this matter.        Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                     III. PREMISES TO BE SEARCHED
           The SUBJECT PREMISES is located at 9615 Bolton Road,

Los Angeles, California 90034.      The SUBJECT PREMISES is a white

and tan colored two-story home with an attached two-car garage.




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There is a support pillar on the front porch with the numbers

9615 shown vertically.

                   IV. STATEMENT OF PROBABLE CAUSE
            Since 2013, ZACHARY JOSEPH HORWITZ, who goes by the

screen name “Zach Avery,” has operated a film distribution

company called 1inMM Capital LLC (“1inMM Capital”).          Based in

Los Angeles, California, 1inMM Capital is purportedly engaged in

the business of buying and selling film distribution rights.            To

raise money to acquire film rights, HORWITZ solicited

investments through the issuance of promissory notes to

investors, particularly private investors.        To attract

investors, HORWITZ falsely represented that 1inMM Capital used

investor funds to acquire film distribution rights, which he

would then license to major online platforms such as Netflix or

HBO, thus enabling 1inMM Capital to provide investors lucrative

rates of return on the promissory notes, often in excess of 25

percent.   In reality, as HORWITZ knew, 1inMM Capital did not use

the investor funds for the stated purpose and did not have

licensing deals with these online platforms, but instead

diverted the funds for his personal benefit and to make payments

on earlier promissory notes in the style of a classic Ponzi

scheme.    To date, HORWITZ, through 1inMM Capital, is in default

to investors on a total outstanding principal of approximately

$227 million.




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     A.    Background on Zachary HORWITZ, 1inMM Capital, and JJMT
           Capital
           Based on my review of law enforcement databases and

public source documents, I know that HORWITZ is an actor and

self-described Hollywood entrepreneur who lives in Los Angeles.

In 2013, he founded 1inMM Capital, a Los Angeles-based film

distribution company that claimed to acquire and distribute

English language feature films to the Latin American market

through partnerships with online platforms like Netflix and HBO.

           California Secretary of State records show that

HORWITZ is the sole manager of 1inMM Capital.         Records from City

National Bank (“CNB”) show that HORWITZ is also the sole

signatory for a CNB checking account in the name of 1inMM

Capital ending in -0290 (the “1inMM Capital account”).

           a.   I have reviewed a corporate “Statement of

Information” for 1inMM Capital filed with the California

Secretary of State on October 18, 2019.        The Statement of

Information lists the SUBJECT PREMISES as the “Business Address”

for 1inMM Capital.    That is the most recent record for 1inMM
Capital available through the California Secretary of State’s

online “Business Search” database.

           b.   I have reviewed CNB bank records showing that, no

later than May 31, 2018, the address of record for the 1inMM

Capital account was the SUBJECT PREMISES.        The SUBJECT PREMISES

has remained the address of record through the most recent

account records I have reviewed, which cover the period through

February 26, 2021.




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           Based on witness interviews, my review of declarations

provided by investors with 1inMM Capital, as well as information

obtained from other government agencies, I am aware of five main

groups of private investors with HORWITZ through 1inMM Capital:

JJMT Capital, LLC (“JJMT”); Movie Fund, LLC (“Movie Fund”);

Fortune Film Fund One, LLC, Fortune Film Fund Two, LLC, and SAC

Advisory Group, LLC (collectively, “SAC”); Vausse Films

(“Vausse”); and Pure Health Enterprises, Inc. (“Pure Health”).

           By far the largest source of investor funds was a

private firm, JJMT.     I have interviewed J.A., a principal of

JJMT.   Communications between HORWITZ and JJMT occurred via

telephone, email, and text, as well as through meetings in

person.

           a.   HORWITZ began pitching to investors, including

JJMT, an opportunity to provide funds to 1inMM Capital to

purchase regional distribution rights to films, typically in the

post-production stage of development, which 1inMM Capital would

then license to online platforms such as HBO and Netflix for

distribution in particular regions outside the United States,

including Latin America.     HORWITZ explained to investors that,

based on his business relationships, 1inMM Capital could

reliably license the film distribution rights to the online

platforms for sums greater than what he paid for the

distribution rights, thereby providing a predictable profit

opportunity each time 1inMM Capital acquired a film’s

distribution rights.




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                  i.    HORWITZ’s representations were also reduced

to writing.   For example, attached as Exhibit 1 is a copy of a

document titled “1inMM Capital Annual Report” provided by

HORWITZ through 1inMM Capital to investors.         According to

information relayed by counsel for JJMT, HORWITZ sent hard

copies of this Annual Report to the principals of JJMT -- along

with a bottle of Johnny Walker Blue Label scotch -- via U.S.

mail in July 2015, and sent electronic versions to them by email

in August 2015.    In the Annual Report, HORWITZ represented that

in the past year, he had “acquired and successfully distributed

49 films through the 1inMM Capital banner without incurring a

single loss in the process.”      He reported that 1inMM Capital

“continue[d] to source quality feature film projects, solidify

our reputation and relationships with our current output deals

and continuously search for additional profitable partnerships.”

HORWITZ also claimed that “we have expanded our business model

with HBO Entertainment and NETFLIX to not only service the

thriving Latin American marketplace but now are distributing
feature films to Australia and New Zealand as well.”          “With this

growth,” he wrote, “we have the ability to safely and profitably

distribute more than 25 additional films per year, creating

ample opportunity for investment and substantial growth of our

thriving feature film library.”

                  ii.   To bolster the claims of 1inMM Capital’s

“film library,” the Annual Report contains a one-page spread

under the heading “Library Snapshot” featuring thumbnail size

posters for 52 films.



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                iii. To bolster the claims of 1inMM Capital’s

ability to secure output deals for distribution in Latin

America, the Annual Report contained a one-page spread under the

heading “Our Strategic Partnerships” featuring the logos of HBO,

Netflix, and Sony above the label “Distribution Partner,” as

well as the logos and names of several purported “Foreign Sales

Partner[s].”

                iv.   The Annual Report also contains several

detailed representations concerning how the investments were

secured.   Under the heading “Investment Focus,” HORWITZ wrote,

“our strategy has been and will always be a collateralized

investment approach to ensure that solid returns and safe

investments are the pillars that solidify our foundation.”           He

explained, “[t]he acquisition of each film that we acquire uses

the asset acquired (Distribution Rights of the film) as

collateral against any unexpected negative event that may occur.

If, at any point, one of our current output deals (HBO / SONY /

NETFLIX) would default on a payment owed to the company; the
rights to distribute the film would immediately revert back to

the distributor (1inMM Capital) and the distributor would place

the film through a different output deal.”        More specifically,

HORWITZ elaborated that “in the event of one output platform

defaulting on payment, 1inMM Capital has confirmation that this

title will be acquired by a secondary deal and therefore making

the investment whole.”     In other words, “in the event that

Netflix, HBO or Sony defaults on a payment, declares bankruptcy

or displays contractual delinquency in any form, we simply sell



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the film to one of the two remaining output platforms that

already have agreed to license the rights of the film.”

Finally, HORWITZ claimed that “through our solid relationships,

we receive confirmation from each of our outputs indicating

their desire to acquire the rights to any title we purchase

PRIOR to us releasing funds for the film so that in the event of

any unexpected occurrence, we are able to recover our investment

through an alternative company.”

               b.   Based on these representations, defendant HORWITZ

solicited investments through the issuance of a series of

promissory notes, which guaranteed a specified payment on a

particular maturity date, typically 6 months or 12 months in the

future.      Each promissory note corresponded to the purported

purchase of the distribution rights to a specific film and was

secured by an assignment of the distribution rights to that

film.       Following this structure, 1inMM Capital and JJMT entered

into approximately 500 such promissory notes through 2019 based

on J.A.’s estimation. 1
                    i.   For example, 1inMM Capital and JJMT entered

into a promissory note dated September 27, 2019, signed by

HORWITZ, pursuant to which 1inMM Capital borrowed $742,250 from

JJMT and promised to repay $999,845 within six months,

representing a calculated return of approximately 35 percent.

The promissory note is purportedly secured by an assignment to

JJMT of the distribution rights to the film “Bitter Harvest.”


       J.A. recalled that one of the earliest promissory notes
        1
the JJMT principals entered with 1inMM Capital was dated October
6, 2014.


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Account records for the 1inMM Capital account reflect an

incoming wire payment of $742,250 on September 27, 2019.

                  ii.   Similarly, 1inMM Capital and JJMT entered

into a promissory note dated December 17, 2018, signed by

HORWITZ, pursuant to which 1inMM Capital borrowed $1,425,500

from JJMT and promised to repay $1,998,825 within twelve months,

representing a calculated return of approximately 40 percent.

The promissory note is purportedly secured by an assignment to

JJMT of the distribution rights to the film “Active Measures.”

Records for the 1inMM Capital account reflect an incoming wire

payment of $1,425,500 on December 14, 2018, with “ACTIVE

MEASURES FUNDING” listed on the wire item. 2       The wire transfer

was originated by JJMT, which is based in Chicago, Illinois.

           c.     To reassure the investors of 1inMM Capital’s

legitimacy and the likelihood of returns on their investments,

HORWITZ would inform the investors both that 1inMM Capital had

entered into agreements with film producers to license the

distribution rights to specific films, and that online platforms

had entered into agreements with 1inMM Capital to distribute the

specific films.    To support these claims, HORWITZ provided

copies of these purported licensing agreements and distribution

agreements to investors.

                  i.    For example, HORWITZ provided JJMT with a

12-page license agreement dated October 2, 2019, between

Sierra/Affinity, as agent for Meyer Media Group, and 1inMM


     2 For purposes of the requested complaint, this interstate
wiring is the selected execution of the scheme.


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Capital, pursuant to which Meyer Media Group purportedly

licensed to 1inMM Capital the exclusive rights to distribute the

film “Bitter Harvest” in certain Latin American and African

territories for a term of 15 years, in exchange for a license

fee of $739,500.    The agreement bears handwritten signatures by

HORWITZ for 1inMM Capital and purportedly by the “EVP

International Sales” for Sierra/Affinity.

                 ii.   Additionally, HORWITZ provided JJMT with a

13-page distribution agreement dated September 11, 2019, between

1inMM Capital and HBO, pursuant to which 1inMM purportedly

licensed to HBO the rights to distribute the film “Bitter

Harvest” in Africa and Latin America for a term of three years,

in exchange for an advance of $999,845, payable and due in six

months.   The agreement bears handwritten signatures by HORWITZ

for 1inMM Capital and purportedly by the “President of

Operations” for HBO Latin America Holdings.

                 iii. Similarly, HORWITZ provided JJMT with a 12-

page license agreement dated December 17, 2018, between
Sierra/Affinity, as agent for Shooting Films, and 1inMM Capital,

pursuant to which Shooting Films purportedly licensed to 1inMM

Capital the exclusive rights to distribute the film “Active

Measures” in certain Latin American and African territories for

a term of 15 years, in exchange for a license fee of $1,425,500.

The agreement bears handwritten signatures by HORWITZ for 1inMM

Capital and purportedly by the “EVP International Sales” for

Sierra/Affinity.




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                 iv.   Additionally, HORWITZ provided JJMT with a

20-page distribution agreement dated December 21, 2018, between

1inMM Capital and Netflix, pursuant to which 1inMM purportedly

licensed to Netflix the rights to distribute the films “Active

Measures” and “Divide and Conquer” in certain Latin American and

Caribbean territories for a term of three years, in exchange for

a fee of $4.2 million for both titles, payable and due in twelve

months.   The agreement bears handwritten signatures by HORWITZ

for 1inMM Capital and purportedly by Funa Maduka, the “VP,

Content Acquisition” for Netflix.

           d.    Prior to the end of 2019, 1inMM Capital generally

honored its promissory notes with investors, including JJMT.

But since December 2019, 1inMM Capital has continually defaulted

on its outstanding promissory notes with investors.          With

respect to JJMT alone, 1inMM Capital appears to have defaulted

on over 160 promissory notes relating to films that were

supposed to be distributed by the online platforms.          As a

result, 1inMM Capital has defaulted in more than $160 million in
principal to JJMT alone and owes approximately $59 million more

in returns per the terms of the defaulted promissory notes.

           e.    Based on my review of declarations provided by

investors and information provided by other government agencies,

I am aware that HORWITZ, through 1inMM Capital, made

substantially the same misrepresentations described above to the

four other major investor groups, namely, by falsely

representing that he would use borrowed funds to acquire film

rights that would be licensed to online platforms such as



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Netflix and HBO.    And just like with JJMT, at certain points in

time in 2019, 1inMM Capital began serially defaulting on its

promissory notes with these other investors.         Specifically,

1inMM Capital has defaulted on approximately $29.7 million in

principal with SAC, approximately $20 million in principal with

Movie Fund, approximately $10 million in principal with Pure

Health, and approximately $8 million with Vausse.          In sum,

HORWITZ, through 1inMM Capital, is in default to investors on a

total outstanding principal of approximately $227 million.

     B.    1inMM Capital Defaults and HORWITZ Dissembles
           Beginning in December 2019, 1inMM Capital and HORWITZ

began defaulting on every promissory note with JJMT with a

maturity date on or after December 11, 2019.

           To prolong the scheme and maintain the illusion that

1inMM Capital was a legitimate business in the wake of these

mounting defaults, HORWITZ falsely represented to JJMT that the

online platforms had refused to pay on time for the distribution

rights as obligated, and provided excuses that were purportedly

given by Netflix and HBO.      To support these claims, HORWITZ

repeatedly sent JJMT emails in which he forwarded purported

email correspondence with employees of Netflix and HBO,

respectively, discussing the underlying licensing agreements.

           With respect to Netflix, HORWITZ fabricated the excuse

that Netflix was performing an audit on all the licensed films

to ensure clear title and would pay the license fees upon

completion of the audit.




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             a.   On February 13, 2020, HORWITZ, using the email

account “zach@1inmm.com,” sent an email to the principals of

JJMT, all of whom live in the greater Chicago area, in which he

forwarded purported email correspondence from the same day with

J.G., Senior Counsel at Netflix.       In the email, J.G., using a

“@netflix.com” domain email address, purportedly wrote that

Netflix was performing an audit to confirm “that all materials

are in place, rights are cleared, paperwork is in order, etc.”

for all content that associated with 1inMM Capital.

             b.   In the months that followed, HORWITZ sent

numerous emails to JJMT forwarding purported email

correspondence from J.G. informing HORWITZ of the progress of

the audit.
             With respect to HBO, HORWITZ fabricated the excuse

that HBO Latin America was entering a restructuring that would

entail modifications to its existing business practices.

             a.   On February 21, 2020, HORWITZ, using the email

account “zach@1inMM.com,” sent an email to the principals of

JJMT, in which he forwarded purported email correspondence from

the same day from L.V., using a “@hbo.com” domain email address

and writing on behalf of the “HBO Latin America Team.”          In the

email, L.V. purportedly wrote that HBO Latin America was in the

process of bringing in HBO Brasil Partners, which would be

accompanied by “modifications to our previous business

practices,” including “payment cycles, exploitation windows,

profit participation cycles, audit reviews, providing

participation statements, renegotiating currently licensed



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titles to increase licensing period, adding licensing

territories and more.”

             b.   On March 5, 2020, HORWITZ, using the email

account “zach@1inmm.com,” sent an email to the principals of

JJMT, which forwarded purported email correspondence on the same

day from L.V., again on behalf of the “HBO Latin America Team.”

In the email, L.V. purportedly expressed his appreciation to

HORWITZ and another individual for meeting in person to discuss

their relationship.     L.V. also purportedly included minutes of

their meeting on March 2 and 3, 2020, at the “HBOLA Office in

Coral Gables and W Miami Hotel,” which covered the names of

attendees, including HORWITZ, and discussion topics, including

“[d]iscussion of Zach’s concern regarding 3rd party investor

pressure.”

             c.   In the months that followed, HORWITZ sent

numerous emails to JJMT in which he forwarded purported email

correspondence from L.V. that supposedly reflected the status of

discussions regarding the business relationship between HBO and
1inMM Capital.
             As of today’s date, however, 1inMM Capital has not

satisfied any of its promissory notes with JJMT which have

become due after December 11, 2019.         Each of these notes was

tied to a film to which 1inMM Capital purportedly held

distribution rights that it had licensed to HBO or Netflix.

     C.      HORWITZ’s Misuse of Investor Funds
             Based on my review of bank records, I believe much of

the investor money sent to the 1inMM Capital account for the



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purchase of film licensing rights in Latin America was diverted

to other purposes, such as payment of personal expenses or

payment of returns on earlier investments in a manner consistent

with a Ponzi scheme.

             1.   Purchase of the SUBJECT PREMISES
             One personal expense to which it appears investor

funds were improperly diverted was the purchase of the SUBJECT

PREMISES itself.    I have reviewed records for a CNB account for

an account in HORWITZ’s name ending -5270 (the “HORWITZ personal

account”).    The most recent records, which continue through

February 2021, list the SUBJECT PREMISES as the address on

record for the HORWITZ personal account.        According to the

records, the HORWITZ personal account had a balance of

$311,130.70 as of February 28, 2018, but by March 28, 2018,

HORWITZ made a wire payment of $5,556,401.13 to complete the

purchase of the SUBJECT PREMISES. 3      The credits to the HORWITZ

personal account between February 28 and March 28 all come from

three sources: JJMT, the 1inMM Capital Account, and a second CNB

account HORWITZ maintained for 1inMM Capital ending in -2944 for

which he was the sole signer (“1inMM Capital account 2”).

             a.   On March 27, 2018, the HORWITZ personal account

received a wire transfer directly from JJMT for $2,225,564.

             b.   On March 28, 2018, the 1inMM Capital account made

two transfers to the HORWITZ personal account: one for $800,000

and one for $900,000.     These payments also appear mostly to

     3 HORWITZ wired a payment of $171,375 from the HORWITZ
personal account to the same escrow company on January 29, 2018,
in what appears to have been an earnest money payment.


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comprise funds from investors in 1inMMC Capital, particularly

JJMT.   As of March 15, 2018, for example, the 1inMM Capital

account had a balance of $1,910,149.30.        From that date through

March 28, 2018, the 1inMM Capital account received the following

wire payments: March 16: $720,375.00 from JJMT; March 20:

$694,850.00 from “Global Hospitality Concepts”; March 22:

$612,620.00 from JJMT; March 22: $650,175.00 from JJMT; March

22: $675,550.00 from JJMT; March 22: $690,800.00 from JJMT;

March 22: $1,406,250.00 from JJMT; March 22: $1,428,700.00 from

JJMT; March 23: $180,000.00 from Creative Artists Agency; March

27: $1,380,900.00 from JJMT; March 27: $1,405,000.00 from JJMT;

March 28: $622,100.00 from JJMT; March 28: $685,250.00 from

JJMT; and March 28: $725,400.00 from JJMT.

            c.   Between March 14 and March 28, 2018, 1inMM

Capital account 2 transferred a total of $2,675,000 to the

HORWITZ personal account across four transfers.         As of February

12, 2018, 1inMM Capital account 2 had an ending balance of

$735,583.   That same day and the next, 1inMM Capital account 2
received three wire transfers from investors: $685,350 from

Fortune Film Fund Two LLC, $705,700 from Fortune Film Fund Two

LLC, and $620,000 from SAC Advisory Group LLC.         On March 20,

2018, 1inMM Capital account 2 received another wire payment for

$620,185 from investor Fortune Film Fund Two LLC.          These four

wire transfers were the only credits to 1inMM Capital account 2

between February 12, 2018, and March 28, 2018.
            Because HORWITZ transferred funds from his bank

accounts to pay off substantial credit card balances, it is



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difficult to glean a full picture of HORWITZ’s lifestyle from

these financial records alone.      Just a week before paying over

$5.5 million to complete the purchase of the SUBJECT PREMISES,

for example, he paid $70,328.05 from the HORWITZ personal

account to American Express.      The next month, he made another

payment to American Express of $57,351.25 on April 20, and on

May 3, he made a payment of $164,241.06.
           I have reviewed photographs of the SUBJECT PREMISES

from its Zillow listing, and these photographs are consistent

with an expensive personal lifestyle.        The house includes an

extensive home theater, home gym, and wine “cellar.”          Shots of

the interior show artwork and what appears to be a grand piano.

In March 2018, the same month HORWITZ purchased the SUBJECT

PREMISES, the HORWITZ personal account wired two payments of

$70,000 to Lonni Paul Design for “RETAINER/COUCH/SIDETABLE.”

Some of the photographs that I reviewed from the Zillow listing

are attached as Exhibit 2 to this affidavit.

           2.    Ponzi Scheme Payments

           In addition to the misuse of investor funds on

personal expenses, I have also identified movements of funds

consistent with a Ponzi scheme.       Based on my review of bank

records for the 1inMM Capital account, it appears that incoming

investor money was used to repay investors for previous

investments.    In some instances, the investors were repaid with

their own money.    In addition, funds were sent to the HORWITZ

personal account.




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           Focusing on December 2018 and January 2019, the ending

balance in account the 1inMM Capital account as of November 30,

2018, was $4,332,730.51.     On December 4, 2018, there were two

wire transfers to JJMT.     One transfer was for $1,795,585 with

“NETFLIX WISH UPON” noted in the wire records under the caption

“ORIG TO BNF INFO,” and a second wire transfer was for

$1,792,525 with “NETFLIX JUST LIKE OUR PARENTS” noted under the

caption “ORIG TO BNF INFO.”

           a.    Based on my interview of J.A., as well as my

training and experience reviewing wire transfer payments, I

believe the ORIG to BNF INFO on these wires indicates that they

were repayments of notes with JJMT for the movies “Wish Upon”

and “Just Like Our Parents.”      Though the wires indicate the wire

transfers related to Netflix, consistent with HORWITZ’s

representation that he sold film rights to Netflix, I have seen

no indication in the bank records that I have reviewed from this

time period that 1inMM Capital or HORWITZ received any payments

from Netflix consistent with the licensing of film rights, which

is consistent with the declaration of Melinda LeMoine, which

stated that Netflix had no business with 1inMM Capital.

           b.    Between December 4, 2018, and December 7, 2018,

there were two wire transfers from the 1inMM Capital account

totaling $161,000, one check paid in the amount $9,500, and a

transfer to the HORWITZ personal account for $150,000 -- a total




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of $320,500 in outgoing payments, which collectively brought the

ending balance on December 7, 2018, to $424,120.51. 4
           c.    Between December 14, 2018, and December 31, 2018,

the 1inMM Capital account received nineteen wire transfers

totaling $16,380,450.     Thirteen wire transfers were from JJMT

for a total of $12,763,900, though this latter amount includes a

$55,000 figure that may have been transferred as a Christmas

present on December 24.

           d.    During the same time period, one check for

$11,000 made payable to “Great Buy Tickets” posted to the 1inMM

Capital account, and two transfers were made from 1inMM Capital

account to the HORWITZ personal account totaling $500,000 (along

with one additional $30,000 wire transfer to a CNB account for

1inMM Productions ending -1130 that listed the SUBJECT PREMISES

as the address on file).     In addition, thirteen wire transfers

were paid to investors, including JJMT, totaling $14,830,820.00.

The ending balance for the 1inMM Capital account on December 31,

2018, was $1,432,750.51.     To summarize the 1inMM Capital account

for December 2018:

     Ending Balance 11/30/2018                $4,332,730.51

     Total Wires In                           $16,380,450.00

     Total Wires Out Investors                $18,418,930.00

     Other Wires Out                          $161,000.00

     Transfers to HORWITZ accounts            $680,000.00


     4 There was also a December 7, 2018, wire transfer of
$150,000 to Jellyfish Pictures Ltd listing “SHOOKUM – INVOICE”
on the wire records. At this point, I have not yet verified the
basis for this payment.


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     Checks Paid                              $20,500.00

     Ending Balance 12/31/2018                $1,432,750.51
             Based on my training and experience, the figures above

are consistent with a Ponzi scheme rather than a legitimate

business along the lines of what HORWITZ described to his

investors.    The bank records do not show outgoing payments to

sales agents or film production companies consistent with the

acquisition of distribution rights, nor do they show incoming

payments from the online platforms to which HORWITZ claimed to

be licensing the film rights.      Rather, it shows incoming funds

to investors, outgoing funds to investors, with transfers to

other accounts HORWITZ controls along the way .
     D.      HORWITZ’s Fraud Exposed
             In reality, neither HORWITZ nor 1inMM Capital ever

engaged in email correspondence with Netflix or HBO, nor did

HORWITZ or 1inMM Capital ever have any business relationship

with Netflix or HBO at all.      The email exchanges and licensing

agreements were fake.

             I have reviewed signed declarations from Melinda

LeMoine, the Director of Content Litigation at Netflix, and

Patrick Younan, Senior Litigation Administrator at Warner Media,

which owns HBO.

             a.   According to Ms. LeMoine, Netflix has no business

relationship with HORWITZ or 1inMM Capital.         In fact, on

February 12, 2021, Ms. LeMoine sent a cease-and-desist letter to

HORWITZ both via his LinkedIn account and through his attorney.

The letter stated that Netflix learned HORWITZ and his company



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1inMM Capital had used forged documents to represent to third

parties that 1inMM Capital had licensing agreements with

Netflix, but that, in fact, Netflix had no such agreements with

1inMM Capital or HORWITZ.      The letter further stated that

HORWITZ has used fabricated emails purportedly exchanged with a

Netflix employee to represent to others that he anticipates

receiving funds from Netflix, and that those emails are also

fraudulent.     The letter demands that HORWITZ stop making

misrepresentations regarding his agreements with Netflix.

           b.     According to Mr. Younan, Warner Media and its

subsidiary HBO also have no business relationship with either

HORWITZ or 1inMM Capital.      Mr. Younan verified that HBO had

never licensed various film projects that HORWITZ had claimed to

have licensed to HBO in his communications with investors.           In

the case of some films, Mr. Younan confirmed that HBO had

licensed the distribution rights, but that it had done so from

companies like Lionsgate or Sony that had no affiliation with

HORWITZ or 1inMM Capital.
           Notwithstanding these facts, HORWITZ continues to

communicate with victims, providing excuses as to why they have

yet to be repaid.

           a.     For example, on March 12, 2021, HORWITZ, using

the email account “zach@1inmm.com,” sent an email to the

principals of JJMT, positing that there has been much discussion

with his lawyer regarding a settlement with HBO that would

enable 1inMM Capital, and thus JJMT, to be paid without the need

for litigation.     In the same email, HORWITZ also wrote that



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“Netflix is a real problem at the moment,” that he had been

“complying with every single thing that is being asked of me and

doing absolutely everything I can to assist, facilitate and

explain whatever is needed,” and that he “will let [JJMT] know

further information and progress as soon as I have that

information and am able to share.”
             Not only are the distribution agreements with HBO and

Netflix fabrications, it appears from my investigation that the

license agreements through which 1inMM Capital purportedly

acquired distribution rights were also fraudulent.          On April 2,

2021, I spoke on the phone with Kendra Dousette, an attorney for

Sierra/Affinity, a sales agent listed on numerous license

agreements HORWITZ purportedly entered on behalf of 1inMM

Capital.   Ms. Dousette explained that she has worked for

Sierra/Affinity since 2015 and is generally familiar with the

businesses that license Sierra/Affinity’s library of films given

her involvement in reviewing license agreements.         She had never

heard of HORWITZ or 1inMM Capital.       When asked about 1inMM

Capital’s purported license agreement with Sierra/Affinity for

the distribution rights to the film “Active Measures,” she noted

that Sierra/Affinity has no record of that film and that real

license agreements Sierra/Affinity entered would be signed by

the chief operating officer or president -- not an “EVP”

(executive vice president), as stated on the purported

agreement.




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     E.     HORWITZ and the SUBJECT PREMISES
            There is considerable evidence to show HORWITZ resides

at the SUBJECT PREMISES and that it contains evidence, fruits,

and instrumentalities of the Subject Offenses.         The SUBJECT

PREMISES is listed as the “Business Address” for 1inMM Capital

and is the address on file for the 1inMM Capital account.

            The SUBJECT PREMISES is currently listed for sale on

the website Zillow, and according to Zillow’s website, has been

listed since January 21, 2021.      On April 1, 2021, however, I was

told by another FBI Agent who had been told by a real estate

agent for the property that the SUBJECT PREMISES is currently

owner occupied, in escrow, and undergoing inspection.          Because I

know, from my training and experience, that it is common for

individuals who have recently moved to set up mail forwarding

with the U.S. Postal Service, I also communicated with a United

States Postal Inspector.     The Postal Inspector determined there

was no record of a forwarding address for the SUBJECT PREMISES

as of March 31, 2021.

            This property is currently titled to Leslie S. Klinger

in his capacity as trustee of the MJLZ Trust.         I have reviewed

CNB account documents for an account ending -0501 for the MJLZ

Trust.    HORWITZ is listed as the grantor.      Beginning in February

28, 2020, and continuing through the most recent available

statement for this account dated February 26, 2021, the bank

statements are addressed to MJLZ Trust, by Zachary Horwitz,

Grantor and lists the SUBJECT PREMISES as the address.




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           On April 1, 2021, I obtained a search warrant for

location information for a Verizon telephone number for which

HORWITZ is the subscriber at the SUBJECT PREMISES.          Location

information show that HORWITZ was in the area of the SUBJECT

PREMISES as recently as April 5, 2021.

           Based on my training and experience, and information

from other experienced investigators of fraud offenses, I also

know the following:

           a.    Individuals involved in fraud schemes often use

the proceeds of the fraud to purchase expensive items, or store

the proceeds in the form of cash to make it more difficult to

trace.   In fact, in reviewing the photographs from the online

Zillow listing for the SUBJECT PREMISES, I saw numerous examples

of what appear to be expensive items, including artwork, racks

of wine bottles in what appears to be a wine cellar, and a fully

equipped home gym.

           b.    Typically, individuals involved in fraud schemes

maintain evidence where it is close at hand and safe, such as in

their residences, vehicles, and digital devices, which are also

commonly stored in their residences and vehicles.          Indeed, in

this case, HORWITZ appears to have made substantial use of

digital devices to communicate in furtherance of the scheme by

email and text message with his victims.         I know that

individuals who commit crimes with the aid of electronic devices

do not readily discard them, as computers, tablets, and cell

phones are expensive items that are typically used for years

before being upgraded or discarded.         Digital devices can be used



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to communicate between co-conspirators and may contain

information relating to the crime under investigation.          And,

even when those who use digital devices to commit fraud do

upgrade them, they often transfer data across devices, such as

contact lists, email and text communications, and documentary

records.

           c.    Individuals involved in fraud frequently keep the

most damaging evidence and/or proceeds of the scheme at their

residences and in their vehicles to help conceal the fraud from

third parties, such as associates who may have access to such

documents at a workplace.      Proceeds such as cash and gifts are

easier to conceal at the fraudster’s residence rather than in

plain view of coworkers.

           d.    More sophisticated or cagey criminals may rent

public storage units, safe deposit boxes, or other third-party

space to further distance themselves from incriminating evidence

or to hide their illicit profits from law enforcement or civil

litigants. Such individuals typically maintain items relating to
those third-party locations at their homes, such as keys,

addresses, and leasing documents.
           The requested search warrant seeks not only to seize

evidence of crimes but also the “fruits of crime” and “property

designed for use, intended for use, or used in committing a

crime.” Fed. R. Crim. P. 41(c).       Even long after a crime has

been completed, the illicit proceeds of a crime often still

exist, frequently secreted in forms or locations difficult to

detect by law enforcement.      For that reason, there is probable



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cause to seize evidence pertaining to HORWITZ’s current assets,

such as his ownership of the SUBJECT PREMISES, and whether it

was purchased using funds derived from his investment fraud

scheme.

                        V. REQUEST FOR SEALING

           I also request that the Court order that the requested

complaint and search warrant be sealed.        The fact that HORWITZ

has taken steps to sell the SUBJECT PREMISES and not all the

proceeds of his fraud scheme have been traced mean that he is a

flight risk, since he has both the resources to flee and likely

has already taken some steps to find an alternate residence once

the sale of the SUBJECT PREMISES is complete.         Additionally, the

criminal investigation is not yet public, and premature

disclosure of the warrants could cause HORWITZ to destroy or

conceal evidence or assets constituting the fruits of his

crimes.

          VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES 5

           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:


     5 As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.


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           a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.          Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.      Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are
not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and



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who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.      Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.
           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.      As an example of the amount of



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data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.
           The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

           a.    Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.          To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.    In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.         I do not know

the passcodes of the devices likely to be found in the search.




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           c.    Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress HORWITZ’s thumb and/or fingers on the

device(s); and (2) hold the device(s) in front of HORWITZ’s face

with his or her eyes open to activate the facial-, iris-, and/or

retina-recognition feature.      In depressing HORWITZ’s thumb or

finger onto a device and in holding a device in front of a

person’s face, law enforcement may not use excessive force, as

defined in Graham v. Connor, 490 U.S. 386 (1989); specifically,
law enforcement may use no more than objectively reasonable

force in light of the facts and circumstances confronting them

           Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                            VII. CONCLUSION
           For all the reasons described above, there is probable

cause to believe that HORWITZ has committed wire fraud and that

evidence of violations of the Subject Offenses, as described

above and in Attachment B of this affidavit, will be found in a

//

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search of the SUBJECT PREMISES, as further described above and

in Attachment A of this affidavit.


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
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telephone                   o
                    5th day of
  ril, 2021.
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                               EXHIBIT 1
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1INMM
CAPITAL
ANNUAL
REPORT
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CHEERS TO OUR
INVESTORS

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OUR MANAGING
PARTNERS
ZACH HORWITZ                                   JULIO HALLIVIS
PRINCIPAL                                      PRINCIPAL
Zach is responsible for the companies          Julio is responsible for bookkeeping, content
overall strategy, capital transactions,        acquisition, foreign sales agent relations and
operations, investor relations and content     head of our Latin America distribution arm.
acquisitions. With ample experience            Julio has an unprecedented knowledge of film
working with 1inMM Productions, 1inMM          production that allows him to have the ability
Capital’s parent company, Zach brings a        of spotting projects at an early stage with the
wealth of knowledge, reputation and            potential to become extremely profitable prior
experience when growing 1inMM Capital to       to being shopped at a film market. With these
a prominent force in the             foreign   tools, Julio works closely with foreign sales
distribution landscape. Zach’s main focus is   agents to pinpoint projects for acquisition prior
providing investors      an     unparalleled   to them going on the market and eliminating
financial business model in which he           the chance of a higher acquisition cost.
highlights gaps in an already profitable       Additionally, Julio has strong roots within the
marketplace and takes advantage of these       Latin American film landscape that allows
niche markets in order to garner returns for   1inMM Capital to get inside access into an
investors. Zach is a serial entrepreneur,      extremely difficult territory to capitalize. Julio is
founding and successfully managing or          a credited commercial and film producer
exiting four companies since his graduation    working with brands such as Porsche, Audi and
from Indiana University in 2009.               Volkswagen prior to getting into film
                                               distribution.
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OUR MANAGING
PARTNERS
GUSTAVO MONTAUDON
PRINCIPAL
Gustavo is responsible for output deal             all sales of TV and Theatrical product in Latin
relations with Netflix, Sony and HBO. Gustavo      America, including Video On Demand, Pay---
is a veteran in the business of distribution and   Per---View, Free TV, Basic Cable, Internet
acquisitions for Latin America. With over          and Syndication. Gustavo was credited for
three decades of experience, his knowledge         creating synergies between Fox divisions in
of the industry is unsurpassable. Gustavo          Mexico and Latin America to launch
founded Alebrije Entertainment, a leading          Theatrical movies and DVD releases of
programming distribution company for high          movies, sequels, TV series and the licensing
quality products for television. This venture      of products.
allowed him to negotiate multiple successful
output deals with prominent companies such
as Netflix, Sony Worldwide and HBO in Latin
America, in addition to distributing Mexican
films in the United States Hispanic video
market.        Prior to forming Alebrije
Entertainment, Gustavo was Vice President of
TV Distribution in Latin America for 20th
Century Fox for 28 years, where he oversaw
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OUR STRATEGIC
PARTNERSHIPS

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OUR INVESTMENT
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